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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      NEWNAN DIVISION


CHARISMA GLENN,                         MOTION TO VACATE
                                        28 U.S.C. § 2255
      Movant,
                                        CRIMINAL ACTION
v.                                      NO: 3:16-cr-0003-TCB-RGV-9

UNITED STATES OF AMERICA,               CIVIL ACTION FILE
                                        NUMBER 3:17-cv-0069-TCB
      Respondent.


                                ORDER

      This case comes before the Court on Magistrate Judge Russell G.

Vineyard’s Final Report and Recommendation (the “R&R”) [684] which

recommends that Defendant Charisma Glenn’s § 2255 motion [658] be

dismissed as procedurally defaulted and failing on the merits. No

objections to the R&R have been filed. Also before the Court is Glenn’s

subsequent motion for reduction of sentence [784], which makes the

same argument as her motion to vacate.

      A district judge has a duty to conduct a “careful and complete”

review of a magistrate judge’s R&R. Williams v. Wainwright, 681 F.2d
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732, 732 (11th Cir. 1982) (per curiam) (quoting Nettles v. Wainwright,

677 F.2d 404, 408 (5th Cir. Unit B 1982)). 1 Where no objection to the

R&R is made, it need only be reviewed for clear error. Macort v. Prem,

Inc., 208 F. App’x 781, 784 (11th Cir. 2006). 2 After conducting a

complete and careful review of the R&R, the district judge may accept,

reject or modify the magistrate judge’s findings and recommendations.

28 U.S.C. § 636(b)(1)(C); Williams, 681 F.2d at 732. The district judge

may also receive further evidence or recommit the matter to the

magistrate judge with instructions. 28 U.S.C. § 636(b)(1)(C).

      The Court has carefully reviewed the R&R and finds no plain

error in its factual or legal conclusions. Accordingly, the Court adopts as

its Order the R&R [684]. Glenn’s § 2255 motion ([658] in the criminal;


      1 The Eleventh Circuit has adopted as binding precedent all Fifth Circuit

decisions issued before October 1, 1981, as well as all decisions issued after that
date by the Unit B panel of the former Fifth Circuit. Stein v. Reynolds Sec., Inc., 667
F.2d 33, 34 (11th Cir. 1982); see also United States v. Schultz, 565 F.3d 1353, 1361
n.4 (11th Cir. 2009) (discussing continuing validity of Nettles).
      2 Macort addressed only the standard of review applied to a magistrate

judge’s factual findings, but the Supreme Court has held that there is no reason for
a district court to apply a different standard of review to a magistrate judge’s legal
conclusions. Thomas v. Arn, 474 U.S. 140, 150 (1985). Thus, district courts in this
circuit have routinely applied a clear-error standard to both. See Tauber v.
Barnhart, 438 F. Supp. 2d 1366, 1373-74 (N.D. Ga. 2006) (collecting cases).

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[1] in the civil case) is denied, and the Clerk is directed to close civil

action number 3:17-cv-0069-TCB.

      Glenn’s motion for reduction of sentence contains the same

argument as her motion to vacate, that her sentence should be reduced

because her minor role in the crime was not considered in the

presentencing report. The Court may only “correct” a sentence pursuant

to Rule 35 of the Federal Rules of Criminal Procedure, 18 U.S.C. § 3742,

or 18 U.S.C. § 3582(c). 18 U.S.C. § 3582. The Court took into account all

appropriate considerations during the sentencing hearing and

considered Glenn’s role in the offense when the Court sentenced her to

35 months’ imprisonment, a period well below the minimum sentencing

guideline of 87 months’ imprisonment. As such, Glenn’s motion for

reduction of sentence [784] is denied.

      The Court declines to issue a certificate of appealability regarding

either motion.

      For the foregoing reasons, the Court adopts as its Order the R&R

[684] and denies Glenn’s § 2255 motion ([658] in the criminal; [1] in the

civil case), and also denies Glenn’s motion for reduction of sentence.

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[784]. The Clerk is directed to close civil action number

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     IT IS SO ORDERED this 17th day of October, 2017.



                                  ____________________________________
                                  Timothy C. Batten, Sr.
                                  United States District Judge




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